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 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-454-GEB
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     JOSEPH ANDRADE,                                )       Date: January 10, 2014
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Garland E. Burrell, Jr.
                                                    )
14
            Defendant.                              )
                                                    )
15
                                                    )
16
            The parties hereby stipulate the following:
17

18          1. Judgment and sentencing in this matter is presently set for December 13, 2013.
19              Counsel for the parties request the date for judgment and sentencing be continued to
20              January 10, 2014, at 9:00 a.m. Counsel for Mr. Andrade needs additional time to
21              respond to information anticipated in the presentence report. Additionally, due to
22              scheduling issues the probation interview with Mr. Andrade will not take place until
23              October 30, 2013. As a result probation will need time to draft their report and
24              defense will need additional time to respond. Assistant U.S. Attorney Jill Thomas and
25              USPO Scott Storey have been advised of this request and have no objection. The
26              parties requests the Court adopt the following schedule pertaining to the presentence
27              report:
28
                Judgment and Sentencing date:                                       1/10/14


                                                        1
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 1
               Reply, or Statement of Non-Opposition:                        1/3/14
 2
               Motion for Correction of the Presentence Report
 3             Shall be filed with the Court and served on the
               Probation Officer and opposing counsel no later than:         12/27/13
 4

 5             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       12/20/13
 6

 7
               Counsel’s written objections to the Presentence Report
               Shall be delivered to the probation officer and opposing
 8             Counsel no later than:                                        12/13/13
 9             The proposed Presentence Report shall be disclosed to
10
               Counsel no later than:                                        12/2/13

11   IT IS SO STIPULATED.
12

13
     Dated: October 23, 2013                                   /s/ John R. Manning
14                                                             JOHN R. MANNING
                                                               Attorney for Defendant
15
                                                               Joseph Andrade
16

17   Dated: October 12, 2013                                   Benjamin B. Wagner
                                                               United States Attorney
18

19                                                      by:    /s/ Jill Thomas
                                                               JILL THOMAS
20                                                             Assistant U.S. Attorney
21                                              ORDER
22
           IT IS SO FOUND AND ORDERED .
23
     Dated: November 26, 2013
24

25

26

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28




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